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                          EXHIBIT 1
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

   Civil Case No. 1:14-cv-03074-CMA-CBS

   JOHANA PAOLA BELTRAN and those similarly situated,

   Plaintiffs,

   v.

   PAMELA H NOONAN;
   THOMAS J NOONAN;
   INTEREXCHANGE, INC.;
   USAUPAIR, INC.;
   GREATAUPAIR, LLC;
   EXPERT GROUP INTERNATIONAL INC., DBA EXPERT AUPAIR;
   EURAUPAIR INTERCULTURAL CHILD CARE PROGRAMS;
   CULTURAL HOMESTAY INTERNATIONAL;
   CULTURAL CARE, INC. D/B/A CULTURAL CARE AU PAIR;
   AUPAIRCARE INC.;
   AU PAIR INTERNATIONAL, INC.;
   APF GLOBAL EXCHANGE, NFP;
   AMERICAN INSTITUTE FOR FOREIGN STUDY DBA AU PAIR IN AMERICA;
   AMERICAN CULTURAL EXCHANGE, LLC, DBA GOAUPAIR;
   AGENT AU PAIR;
   A.P.EX. AMERICAN PROFESSIONAL EXCHANGE, LLC DBA PROAUPAIR; and
   20/20 CARE EXCHANGE, INC. DBA THE INTERNATIONAL AU PAIR EXCHANGE,

   Defendants.


   ORDER GRANTING DEFENDANT CULTURAL CARE, INC.’S MOTION TO DISMISS
   PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(B)(6) AND DISMISSING
     ALL CLAIMS ASSERTED AGAINST CULTURAL CARE, INC. WITH PREJUDICE


           The Court has reviewed Cultural Care, Inc.’s (“Cultural Care”) Motion to Dismiss

   Pursuant to Federal Rule of Civil Procedure 12(b)(6) (“Motion to Dismiss”) along with all
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   opposition papers submitted by Plaintiff Johana Paola Beltran, and is otherwise advised

   on the matter.

          It is hereby ORDERED that Cultural Care’s Motion to Dismiss is GRANTED and

   Plaintiff’s claim against Cultural Care in Count I of the Complaint for alleged violation of

   Section 1 of the Sherman Act, 15 U.S.C § 1 et seq., which is the only claim asserted

   against Cultural Care in the above case, is hereby dismissed with prejudice.

          DATED this ___ day of _____________ 2015.



                                                    ________________________________
                                                    DISTRICT COURT JUDGE




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